       Case 1:25-cv-10399-FDS         Document 21      Filed 02/26/25     Page 1 of 2



                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS


                                  )
KAREN READ,                       )
                                  )
         Petitioner,              )
                                  )                        Civil Action No.
    v.                            )                        25-cv-10399-FDS
                                  )
NORFOLK COUNTY SUPERIOR COURT and )
MASSACHUSETTS ATTORNEY GENERAL, )
                                  )
         Respondents.             )
                                  )

                                NOTICE OF APPEARANCE

       Please enter my appearance as counsel of record for the Massachusetts Attorney General,

a respondent in the above-captioned matter.

                                                          Respectfully submitted,


                                                           /s/ Thomas E. Bocian
                                                          Thomas E. Bocian (BBO #678307)
                                                          Assistant Attorney General
                                                          Appeals Division
                                                          Criminal Bureau
                                                          One Ashburton Place
                                                          Boston, Massachusetts 02108
                                                          (617) 727-2200
                                                          tom.bocian@mass.gov
Dated: February 26, 2025




                                              1
       Case 1:25-cv-10399-FDS           Document 21        Filed 02/26/25      Page 2 of 2



                                 CERTIFICATE OF SERVICE

        I hereby certify that this document was filed through the ECF system on February 26,
2025, and will be sent electronically to the registered participants as identified on the Notice of
Electronic Filing (NEF), including Martin G. Weinberg, Esq., and Michael Pabian, Esq. counsel
for the petitioner in this matter. There are no non-registered participants involved in this case.


                                                      /s/ Thomas E. Bocian
                                                      Thomas E. Bocian
                                                      Assistant Attorney General




                                                 2
